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  1   Mark J. Jacobs (SBN 208945)
      E-Mail: mjacobs@fisherphillips.com
  2   Drew M. Tate (SBN 312219)
      E-Mail: dtate@fisherphillips.com
  3   FISHER & PHILLIPS LLP
      444 South Flower Street, Suite 1500
  4   Los Angeles, California 92614
      Telephone: (213) 330-4500
  5   Facsimile: (213) 330-4501
  6   Attorneys for Defendants
      VANTAGE TRAVEL SERVICE, INC.
  7   and INSPERITY PEO SERVICES, L.P.
      (Erroneously Sued as INSPERITY, INC.)
  8
  9                       UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11
12    LAUREN GOLDENBERG,                        Case No: _____________________
13                      Plaintiff,              [Removed from State Court,
                                                Case No. 21STCV05726]
14         v.
                                                DECLARATION OF LECIA
15    VANTAGE TRAVEL SERVICE, INC.;             CHANEY IN SUPPORT OF
      INSPERITY, INC.; and DOES 1-100,          DEFENDANTS VANTAGE
16
                        Defendants.             TRAVEL SERVICE, INC. AND
17                                              INSPERITY PEO SERVICES,
                                                L.P.’S NOTICE OF REMOVAL OF
18                                              ACTION FROM STATE COURT
                                                TO FEDERAL COURT PURSUANT
19                                              TO 28 U.S.C. §§ 1332, 1441, AND
20                                              1446

21                                              Complaint Filed: February 16, 2021
                                                Trial Date: Not Set
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       DECLARATION OF LECIA CHANEY ISO DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM
           STATE COURT TO FEDERAL COURT PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
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                 1                             DECLARATION OF LECIA CHANEY
                 2              I, Lecia Chaney, hereby declare and state as follows:
                 3              1.     I am over the age of eighteen and I have personal knowledge of the
                 4        matters contained herein. I make this declaration in support of Defendants
                 5        VANTAGE TRAVEL SERVICE, INC. and INSPERITY PEO SERVICES, L.P.’s
                 6        (erroneously sued as INSPERITY, INC.) (“Insperity”) (collectively “Defendants”)
                 7        Notice of Removal pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, in the above-
                 8        entitled matter. If called as a witness, I could and would testify competently to the
                 9        matters set forth in this Declaration.
               10               2.     I am the Associate General Counsel for Insperity, and I have been
               11         employed by Insperity since June 2015. As a result of my position, I am
               12         knowledgeable about Insperity’s place of formation, legal entity status, corporate
               13         structure, and the location of its headquarters and leadership.
               14               3.     On February 25, 2021, Insperity was served with the Summons and
               15         Lauren Goldenberg’s Complaint, which was filed in the Superior Court of
               16         California, County of Los Angeles on February 16, 2021, entitled Lauren
               17         Goldenberg v. Vantage Travel Services, Inc. et al., and case number
               18         21STCV05726.
               19               4.     Insperity is incorporated in the State of Delaware as a limited
               20         partnership. Insperity was and is a limited partnership in good standing with the
               21         State of Delaware as of February 16, 2021 (the date the instant Complaint was
               22         filed), and as of the time Defendants’ Notice of Removal is being filed. Insperity’s
               23         headquarters and principal place of business was located in Kingwood, Texas as of
               24         February 16, 2021, and as of the time Defendants’ Notice of Removal is being filed.
               25         The address for Insperity’s headquarters and principal place of business is 19001
               26         Crescent Springs Drive, Kingwood, Texas 77339. Insperity controls, directs, and
               27         coordinates its business activities at its Kingwood, Texas headquarters.
               28               5.     As of February 16, 2021, and the date of Defendants’ Notice of
                                                                 1
                           DECLARATION OF LECIA CHANEY ISO DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM
                               STATE COURT TO FEDERAL COURT PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
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                 1        Removal, Insperity’s sole two members are Administaff Companies, Inc. and
                 2        Administaff Partnerships Holding III, Inc.
                 3              6.     Administaff Companies, Inc. is incorporated in the State of Delaware.
                 4        Administaff Companies, Inc. was and is a corporation in good standing with the
                 5        State of Delaware as of February 16, 2021, and as of the time Defendants’ Notice
                 6        of Removal is being filed. Administaff Companies, Inc.’s headquarters and
                 7        principal place of business was located in Kingwood, Texas as of February 16,
                 8        2021, and as of the time Defendants’ Notice of Removal is being filed. Administaff
                 9        Companies, Inc. controls, directs, and coordinates its business activities at its
               10         Kingwood, Texas headquarters.
               11               7.     Administaff Partnerships Holding III, Inc. is incorporated in the State
               12         of Delaware. Administaff Partnerships Holding III, Inc. was and is a corporation in
               13         good standing with the State of Delaware as of February 16, 2021, and as of the
               14         time Defendants’ Notice of Removal is being filed. Administaff Partnerships
               15         Holding III, Inc.’s headquarters and principal place of business was located in
               16         Kingwood, Texas as of February 16, 2021, and as of the time Defendants’ Notice
               17         of Removal is being filed. Administaff Partnerships Holding III, Inc. controls,
               18         directs, and coordinates its business activities at its Kingwood, Texas headquarters.
               19               8.     Insperity does not direct, control, or coordinate its activities from a
               20         principal place of business in the State of California.
               21         ///
               22         ///
               23         ///
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                            DECLARATION OF LECIA CHANEY ISO DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM
                                STATE COURT TO FEDERAL COURT PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
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                 1              9.      To the extent necessary, Insperity consents to the filing of this Notice
                 2        of Removal.
                 3              I declare under penalty of perjury under the laws of these United States of
                 4        America and the State of California that the foregoing is true and correct. Executed
                 5        this ___th
                                   day of March, 2021 in Kingwood, Texas.
                 6                                                 r-=; DocuSigned by:


                 7                                                 l!.E~F==
                                                                  Lecia Chaney
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                           DECLARATION OF LECIA CHANEY ISO DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM
                               STATE COURT TO FEDERAL COURT PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
